            Case 4:22-cv-00306 Document 6-1 Filed on 02/15/22 in TXSD Page 1 of 6

                        IN THE UNITED STATES DISTRICT COURT
                                      FOR THE
                   SOUTHERN DISTRICT OF TEXAS – HOUSTON DIVISION

_______________________________________________
                                                        )
Jesus Garcia, Individually, and on Behalf of the Estate )
of Martha Garcia, Deceased; and A/N/F of Minor,         )
Children, N.G., E.G., R.G., J.G., C.G., and E.G.        )
                                                        )
Plaintiffs,                                             )
                                                        )
vs.                                                     )
                                                        )
Oak Bend Medical Center; Fort Bend Family Health        )
Center, Inc., d/b/a Access Health and Aida Ludivina     )
Vigil-Sanchez, M.D.                                     )
                                                        )
Defendants.                                             )
                                                        )
______________________________________________ )

                                      DECLARATION OF
                                      MEREDITH TORRES

       1. I am a Senior Attorney in the General Law Division, Office of the General Counsel,

Department of Health and Human Services (the “Department”). I am familiar with the official

records of administrative tort claims maintained by the Department as well as with the system by

which those records are maintained.

       2. The Department has a Claims Office that maintains in a computerized database a record

of administrative tort claims filed with the Department, including those filed with respect to

federally supported health centers that have been deemed to be eligible for Federal Tort Claims Act

malpractice coverage.


       3. As a consequence, if an administrative tort claim had been filed with the Department

with respect to Fort Bend Family Health Center, Inc., its approved delivery sites, or its employees

and/or qualified contractors, a record of that filing would be maintained in the Claims Office

database.

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        4. I have caused a search of the Claims Office database to be conducted and found

no record of an administrative tort claim filed by Jesus Garcia, Individually, and on Behalf of the

Estate of Martha Garcia, and A/N/F of Minor Children, N.G., E.G., R.G., J.G., C.G., and E.G.,

and/or an authorized representative relating to Fort Bend Family Health Center, Inc., and Dr. Aida

Ludivina Vigil-Sanchez.

        5. I have also reviewed official Agency records and determined that Fort Bend Family

Health Center, Inc., was deemed eligible for Federal Tort Claims Act malpractice coverage

effective January 1, 2019, and that its coverage has continued without interruption since that time.

The Secretary of Health and Human Services’ authority to deem entities as Public Health Service

employee under 42 U.S.C. § 233 (g) has been delegated to the Associate Administrator, Bureau of

Primary Health Care, Health Resources and Services Administration. A copy of the notification

issued by the Associate Administrator, Bureau of Primary Health Care, Health Resources and

Services Administration, Department of Health and Human Services to Fort Bend Family Health

Center, Inc., is attached to this declaration as Exhibit 1.

        6. I have also reviewed the employment records submitted by Fort Bend Family Health

Center, Inc., on behalf of the defendant, Dr. Aida Ludivina Vigil-Sanchez, and I have determined

that Dr. Aida Ludivina Vigil-Sanchez, was an employee of Fort Bend Family Health Center, Inc., at

all times of the incidents giving rise to the suit.

        I declare under penalty of perjury that the foregoing is true and correct. 28 U.S.C.

§ 1746.

                Dated at Washington, DC, this 24th day of January, 2022.




                                        MEREDITH TORRES
                                        Senior Attorney, Claims and Employment Law
                                        General Law Division
                                        Office of the General Counsel
                                        Department of Health and Human Services

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 1. ISSUE DATE: (MM/DD/YYYY)
 10/2/2018

 2a. FTCA DEEMING NOTICE NO.:
 1­F00000701­18­01

 2b. Supersedes: [ ]

 3. COVERAGE PERIOD:
   From: 1/1/2019 Through: 12/31/2019                                                                          DEPARTMENT OF HEALTH AND HUMAN SERVICES
 4. NOTICE TYPE:                                                                                            HEALTH RESOURCES AND SERVICES ADMINISTRATION
 Renewal

 5. ENTITY NAME AND ADDRESS:
 Fort Bend Family Health Center, Inc.
 400 AUSTIN ST                                                                                                            NOTICE OF DEEMING ACTION
 RICHMOND, TX 77469                                                                                            FEDERAL TORT CLAIMS ACT AUTHORIZATION:
 6. ENTITY TYPE:                                                                                  Federally Supported Health Centers Assistance Act(FSHCAA), as amended,
 Grantee                                                                                       Sections 224(g)­(n) of the Public Health Service (PHS) Act, 42 U.S.C. § 233(g)­(n)

 7. EXECUTIVE DIRECTOR:
 Michael Dotson

 8a. GRANTEE ORGANIZATION:
 Fort Bend Family Health Center, Inc.

 8b. GRANT NUMBER:
 H80CS00263

 9. THIS ACTION IS BASED ON THE INFORMATION SUBMITTED TO, AND AS APPROVED BY HRSA, AS REQUIRED UNDER 42 U.S.C. § 233(h) FOR THE ABOVE TITLED ENTITY AND IS
 SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY OR BY REFERENCE IN THE FOLLOWING:
   a. The authorizing program legislation cited above.
   b. The program regulation cited above, and,
   c. HRSA's FTCA­related policies and procedures.


 In the event there are conflicting or otherwise inconsistent policies applicable to the program, the above order of precedence shall prevail.

 10. Remarks:




 The check box [x] in the supersedes field indicates that this notice supersedes any and all active NDAs and rescinds any and all future NDAs issued prior to this notice.

 Electronically signed by Tonya Bowers, Deputy Associate Administrator for Primary Health Care on: 10/2/2018 9:54:56 AM


A printer version document only. The document may contain some accessibility challenges for the screen reader users. To access same information, a fully 508 compliant accessible
HTML version is available on the HRSA Electronic Handbooks in the FTCA Folder. If you need more information, please contact the BPHC Helpline at 877­974­BPHC (2742); Weekdays
from 8:30 AM to 5:30 PM ET.




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FTCA DEEMING NOTICE NO.:                                                 GRANT NUMBER:
1­F00000701­18­01                                                        H80CS00263




Fort Bend Family Health Center, Inc.
400 AUSTIN ST
RICHMOND, TX77469


Dear Michael Dotson:

The Health Resources and Services Administration (HRSA), in accordance with the Federally Supported Health Centers Assistance Act (FSHCAA), as amended, sections 224(g)­(n) of
the Public Health Service (PHS) Act, 42 U.S.C. §§ 233(g)­(n), deems Fort Bend Family Health Center, Inc. to be an employee of the PHS, for the purposes of section 224, effective
1/1/2019 through 12/31/2019.

Section 224(a) of the PHS Act provides liability protection under the Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346(b), 2672, or by alternative benefits provided by the United States
where the availability of such benefits precludes a remedy under the FTCA, for damage for personal injury, including death, resulting from the performance of medical, surgical, dental,
or related functions by PHS employees while acting within the scope of such employment. This protection is exclusive of any other civil action or proceeding. Coverage extends to
deemed entities and their (1) officers; (2) governing board members; (3) full­ and part­time employees; and (4) contractors who are licensed or certified individual health care
practitioners providing full­time services (i.e., on average at least 32½ hours per week for the entity for the period of the contract), or, if providing an average of less than 32½ hours per
week of such service, are licensed or certified providers in the fields of family practice, general internal medicine, general pediatrics, or obstetrics/gynecology. Volunteers are neither
employees nor contractors and therefore are not eligible for FTCA coverage under FSHCAA.

This Notice of Deeming Action (NDA) is also confirmation of medical malpractice coverage for both Fort Bend Family Health Center, Inc. and its covered individuals as described
above. This NDA, along with documentation confirming employment or contractor status with the deemed entity, may be used to show liability coverage for damage for personal injury,
including death, resulting from the performance of medical, surgical, dental, or related functions by PHS employees while acting within the scope of such employment.

In addition, FTCA coverage is comparable to an "occurrence" policy without a monetary cap. Therefore, any coverage limits that may be mandated by other organizations are met.

This action is based on the information provided in your FTCA deeming application, as required under 42 U.S.C. § 233(h), with regard to your entity’s: (1) implementation of appropriate
policies and procedures to reduce the risk of malpractice and litigation; (2) review and verification of professional credentials and privileges, references, claims history, fitness,
professional review organization findings, and licensure status of health professionals; (3) cooperation with the Department of Justice (DOJ) in the defense of claims and actions to
prevent claims in the future; and (4) cooperation with DOJ in providing information related to previous malpractice claims history.


Deemed health centers must continue to receive funding under Section 330 of the PHS Act, 42 U.S.C. § 254b, in order to maintain coverage as a deemed PHS employee. If the
deemed entity loses its Section 330 funding, such coverage will end immediately upon termination of the grant. In addition to the relevant statutory and regulatory requirements, every
deemed health center is expected to follow HRSA's FTCA­related policies and procedures, which may be found online at http://www.bphc.hrsa.gov.

For further information, please contact your HRSA Project Officer as listed on your Notice of Grant Award or the Bureau of Primary Health Care (BPHC) Help Line at 1­877­974­2742 or
bphchelpline@hrsa.gov.



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                           Case 4:22-cv-00306 Document 6-1 Filed on 02/15/22 in TXSD Page 5 of 6
 1. ISSUE DATE: (MM/DD/YYYY)
 8/29/2019

 2a. FTCA DEEMING NOTICE NO.:
 1­F00000701­19­02

 2b. Supersedes: [ ]

 3. COVERAGE PERIOD:
   From: 1/1/2020 Through: 12/31/2020                                                                          DEPARTMENT OF HEALTH AND HUMAN SERVICES
 4. NOTICE TYPE:                                                                                            HEALTH RESOURCES AND SERVICES ADMINISTRATION
 Renewal

 5. ENTITY NAME AND ADDRESS:
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 400 AUSTIN ST                                                                                                            NOTICE OF DEEMING ACTION
 RICHMOND, TX 77469                                                                                            FEDERAL TORT CLAIMS ACT AUTHORIZATION:
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   a. The authorizing program legislation cited above.
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 In the event there are conflicting or otherwise inconsistent policies applicable to the program, the above order of precedence shall prevail.

 10. Remarks:




 The check box [x] in the supersedes field indicates that this notice supersedes any and all active NDAs and rescinds any and all future NDAs issued prior to this notice.

 Electronically signed by Tonya Bowers, Deputy Associate Administrator for Primary Health Care on: 8/29/2019 6:43:55 PM


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1­F00000701­19­02                                                        H80CS00263




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deemed health center is expected to follow HRSA's FTCA­related policies and procedures, which may be found online at http://www.bphc.hrsa.gov.

For further information regarding FTCA, please contact the Health Center Program Support (Formally the BPHC Helpline) at 877­464­4772, option 1, or using the BPHC Contact Form.



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